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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
JOHN PAUL BEAUDOIN, SR.,                  )
                                          )
      Plaintiff,                          )
                                          )                     Civil Action No.
v.                                        )                     1:22-CV-11356-NMG
                                          )
CHARLES D. BAKER, et al.,                 )
                                          )
      Defendants.                         )
__________________________________________)


                    DEFENDANTS’ MOTION TO FURTHER EXTEND
                    DATE FOR FILING OF RESPONSIVE PLEADING

        Governor Charles D. Baker, individually and in his official capacity, together with the

other named defendants in this action (collectively, the “Defendants”), hereby move for an order

setting Friday, December 2, 2022, as the date by which the Defendants must file a responsive

pleading in this action. The requested date would extend the current deadline by fifteen (15)

days.

        As grounds for this request, the Defendants state as follows:

        1. The plaintiff, John Paul Beaudoin, Sr. (“Beaudoin”) filed and served this action in

           early September, 2022.

        2. The complaint contains five counts, and names numerous state officials, in their

           official and individual capacities, as defendants.

        3. The undersigned’s colleague, Assistant Attorney General Daniel Hammond, is

           primary counsel of record for all defendants in this matter. Due to a serious family

           illness, Attorney Hammond has been out of the office unexpectedly, and he therefore
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           has been unable to work on Defendants’ responsive pleading. Attorney Hammond’s

           return to the office is expected imminently, and he anticipates that he will now

           require the additional time (through December 2, 2022), to complete the filing.

       4. Beaudoin, who is acting pro se, has assented to two previous requests to extend the

           date for filing of the Defendants’ responsive pleading – first through October 28,

           2022, and most recently through November 17, 2022. Beaudoin has indicated that he

           reserves his right to oppose any further such request.

       5. No party is likely to be prejudiced by the requested further extension, which is

           modest in duration.

       WHEREFORE, the Defendants respectfully request that this Court issue an order setting

December 2, 2022, as the date by which the Defendants must file their responsive pleading.

                                                     Respectfully submitted,

                                                     MAURA HEALEY
                                                     ATTORNEY GENERAL

                                                     /s/ Amy Spector
                                                     Amy Spector, BBO # 557611
                                                     Assistant Attorney General
                                                     Government Bureau
                                                     One Ashburton Place
                                                     Boston, Massachusetts 02108
                                                     (617) 963-2076
                                                     amy.spector@mass.gov

Dated: November 15, 2022




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                                 CERTIFICATE OF SERVICE
        I certify that this document, filed through the Court’s ECF, system will be sent
electronically to registered participants as identified on the Notice of Electronic Filing (NEF) and
that paper copies will be sent to those indicated as non-registered participants by first-class mail
on November 15, 2022.


                                                     /s/ Amy Spector
                                                     Amy Spector



               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1


        I, Amy Spector, certify that my colleague, Assistant Attorney General Daniel J.
Hammond, who is primary counsel in this case, conferred with John Paul Beaudoin, the pro se
plaintiff, before the filing of this motion. Mr. Beaudoin indicated that he reserves his rights,
including his right to oppose the requested extension.


                                                     Amy Spector
                                                     Amy Spector




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